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                                    341 First Creditor’s Meeting
                                   Chapter 11 Proceedings Memo

 Debtor:                    B GSE Group, LLC
 Case No.:                  23-30013
 Date / Time:               March 1, 2023 @ 3:30 p.m.
 Continued:                 March 22, 2023 @ 2:00 p.m.
 Individual Testifying:     Bryan Bullerdick
 Title:                     member/manager
 Sworn / Affirmed:             YES        NO
 Debtor Attorney:           Richard S. Wright
 Subchapter V Trustee:      Cole Hayes

Ownership:
 100% membership interests are owned by Bryan Bullerdick




Factors Contributing to Bankruptcy Filing:
 Entry of judgment and litigation costs




Compliance with Operating Order:
 Collateralization of Truist account in process by BA.




Plan Formulation:
 Plan filed on February 24, 2023.




Creditors Present:   No / Yes (see attached)

Items Requested / Additional Requirements:        No / Yes (see attached)



                                    Presiding Officer
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Creditors Present

Glenn Thompson, Ed Weil, Steve Zeller for John Bean Technologies Corp.
Marc Buchman for Philadelphia Insurance Companies
Will Curtis for Truist Bank
Cassie Carter for Queen City Supply Co.
Fred Fielding, Chase Defense Partners
Bryan Henry, individually and for Industrial Maintenance Solutions, LLC and Nova I Properties,
LLC
Patti Halloran for Jacksonville Aviation Authority


Documents Requested

   -   Ledger detail showing dates and amounts for transfers made from Debtor to Bryan and
       Ashley Bullerdick and transfers from Bullerdick to Debtor made during the 4 years prior to
       the petition date
